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     JAMES SHAYLER
10
11                         UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
     James Shayler,                          Case No.:
14
15           Plaintiff,
16   v.                                        COMPLAINT FOR VIOLATIONS
                                               OF: AMERICANS WITH
17   Roger Jesperson, Trustee of the Jesperson DISABILITIES ACT OF 1990, 42
                                               U.S.C. § 12181 et seq.; UNRUH
18   Family Revocable Living Trust dated       CIVIL RIGHTS ACT, CALIFORNIA
     May 4, 1995; Joyze Jesperson, Trustee of CIVIL CODE § 51 et seq.
19   the Jesperson Family Revocable Living
20   Trust dated May 4, 1995; and Does 1-10,
21            Defendants.                    DEMAND FOR JURY TRIAL
22
23
24
25             Most Americans will become disabled at some point in life.
26
27
28

                                      COMPLAINT
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 1         Plaintiff James Shayler (hereinafter referred to as “Plaintiff,”) complains of
 2
     Roger Jesperson, Trustee of the Jesperson Family Revocable Living Trust dated
 3
 4   May 4, 1995; Joyze Jesperson, Trustee of the Jesperson Family Revocable Living

 5   Trust dated May 4, 1995; and Does 1-10 (each, individually a “Defendant,” and
 6
     collectively “Defendants”), and alleges as follows:
 7
 8                             I.     PARTIES
 9         1.     James Shayler has only partial use of his leg and suffers from heart
10
     failure. Plaintiff is a California resident with physical disabilities. Plaintiff has
11
12   difficulty walking and standing. Plaintiff is mobility impaired. Plaintiff is
13   qualified as being disabled pursuant to 42 U.S.C. § 12102(2)(A), the California
14
     Unruh Civil Rights Act, §§ 51, et seq., 52, et seq., and other statutory laws which
15
16   protect the rights of “disabled persons”. Plaintiff has been issued a blue permanent
17   disability Disabled Person Parking Placard by the State of California. Plaintiff is a
18
     California resident with physical disabilities.
19
20         2.     Defendant Roger Jesperson, Trustee of the Jesperson Family
21
     Revocable Living Trust dated May 4, 1995; Joyze Jesperson, Trustee of the
22
     Jesperson Family Revocable Living Trust dated May 4, 1995 owned the property
23
24   (“Property”) located at 10905 Venice Boulevard, Unit 101, Los Angeles, CA
25
     90034, at all relevant times.
26
           3.     There is a business establishment on the Property known as “The
27
28   Cleaning Club” (hereinafter “business”).
                                           2
                                       COMPLAINT
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 1         4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 2
     owners, subsidiaries, parent companies, employers, employees, agents, corporate
 3
 4   officers, managers, principles and/or representatives of Defendants. Plaintiff is

 5   unaware of the true names and capacities of Defendants sued herein, as DOES 1
 6
     through 10, inclusive, and therefore, sues those Defendants by fictitious names.
 7
 8   Plaintiff requests that the Court grant leave to amend this complaint to allege the
 9   true names and capacities when determined by whatever source.
10
           5.     Plaintiff alleges that Defendants at all times have been and are relevant
11
12   to this cause of action, the owners, franchisees, lessees, general partners, limited
13   partners, agents, employees, employers, represent partners, subsidiaries, partner
14
     companies, and/or joint ventures of the remaining Defendants and were acting
15
16   within the course and scope of that relationship. Plaintiff is further informed and
17   believes and alleges that each of the Defendants gave consent to, ratified, and/or
18
     authorized the acts alleged of each of the remaining defendants.
19
20         6.     Plaintiff visited the public accommodations owned and operated by
21
     Defendants with the intent to purchase and/or use the goods, services, facilities,
22
     privileges, advantages, or accommodations operated and/or owned by Defendants.
23
24                             II.    JURISDICTION & VENUE
25
           7.     This Court has subject matter jurisdiction over this action pursuant to
26
     28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
27
28   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
                                           3
                                       COMPLAINT
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 1          8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 2
     action, arising from the same nucleus of operative facts and arising out of the same
 3
 4   transactions, is also brought under California’s Unruh Civil Rights Act, which act

 5   expressly incorporates the ADA.
 6
            9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 7
 8   founded on the fact that the real property which is the subject of this action is
 9   located in this district and that Plaintiff’s cause of action arose in this district.
10
                                 III.   FACTS
11
12          10.    The Property owned by Defendants is a facility which is open to the
13   public and is a business establishment.
14
            11.    Plaintiff alleges that the Property has been newly constructed and/or
15
16   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
17   failed to comply with California access standards which applied at the time of each
18
     new construction and/or alteration or failed to maintain accessible features in
19
20   operable working condition.
21
            12.    Plaintiff visited the Property during the relevant statutory period on
22
     three (3) separate occasions, in June 2019, August 2020 and October 2020 to
23
24   patronize the business.
25
            13.    Defendants did not offer persons with disabilities with equivalent
26
     facilities, privileges and advantages offered by Defendants to other patrons.
27
28          14.    Plaintiff encountered barriers (both physical and intangible) that
                                            4
                                        COMPLAINT
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 1   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
 2
     services, privileges, and accommodations offered at the Property.
 3
 4         15.    Parking for patrons visiting the Property are among the facilities,

 5   privileges, and advantages offered by Defendants to patrons of the Property.
 6
           16.    However, there is no accessible parking for disabled patrons. Not one
 7
 8   single space. The parking space designated for disabled persons does not comply
 9   with the Americans with Disabilities Act (“ADA”).
10
           17.    The parking area does not comply with the latest California Building
11
12   Codes (“2010 CBC”).
13         18.    Parking is one of the facilities, privileges, and advantages offered by
14
     Defendants to patrons of the Property.
15
16         19.    When Plaintiff visited the Property, he experienced access barriers
17   related to parking, signage, and paths of travel.
18
           20.    Plaintiff encountered the following barriers at Defendant’s Property:
19
20
21         VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
22
           ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
23
24         of travel.) An accessible route of travel is not provided to all entrances and
25
           portions of the building, entrances and/or between the building and a public
26
           way.
27
28
                                           5
                                       COMPLAINT
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 1         VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
 2
           There is no accessible path of travel into the building entrances. There is no
 3
 4         safe way for Plaintiff to travel from the parking area to the entrance of the

 5         Property.
 6
           VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
 7
 8         (Directional signage.) There is no directional signage showing an accessible
 9         path of travel.
10
11
12         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
13         sign.) The tow away sign(s) (white sign stating that “UNAUTHORIZED
14
           VEHICLES PARKED IN DESIGNATED ACCESSIBLE SPACES …
15
16         WILL BE TOWED AWAY”) must be posted in a conspicuous place at each
17         entrance to an off-street parking lot (facility), or immediately adjacent to and
18
           visible from each designated parking stall (space). The requisite sign(s) are
19
20         not posted.
21
22
           VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
23
24         sign – towed vehicle information.) The tow away sign (white sign stating
25
           that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
26
           ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
27
28         required information regarding the tow company and telephone number.
                                          6
                                      COMPLAINT
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 1
 2
           VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross
 3
 4         slope of the accessible path of travel is greater than two (2) percent.

 5
 6
           VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
 7
 8         502.2. (Faded paint – accessible space lines.) The paint used for the
 9         designated accessible parking space is so worn and aged that it cannot be
10
           seen. This makes it unclear where the actual parking space is. The required
11
12         width dimensions are not painted as required. This makes it difficult for
13         Plaintiff to park in the designated space.
14
15
16         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
17         space). The parking space designated for disabled persons measures less than
18
           nine (9) feet wide. This makes it difficult for Plaintiff to park in the
19
20         designated space.
21
22
           VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
23
24         space.) The designated disabled parking space measures less than 18 feet
25
           long, which makes it difficult for Plaintiff to park in the designated space.
26
27
28         VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
                                           7
                                       COMPLAINT
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 1         changes in level.) The path of travel from the space reserved for disabled
 2
           patrons has an uneven ground surface with changes in level exceeding one-
 3
 4         half inch.

 5
 6
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 7
 8         § 502.4. (Slope of parking space.) The parking space reserved for disabled
 9         patrons has surface slopes in it that are greater than 2%.
10
11
12         VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
13         § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
14
           access aisle for the space reserved for disabled persons has surface slopes in
15
16         it that are greater than 2%.
17
18
           VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
19
20         2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
21         aisle to the designated disabled parking space is less than eighteen (18) feet
22
           long. This makes it difficult for Plaintiff to use the adjacent space to safely
23
24         disembark from the car.
25
26
           VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
27
28         2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
                                          8
                                      COMPLAINT
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 1         loading/unloading access aisle to the designated disabled parking space is
 2
           less than five (5) feet wide. This makes it difficult for Plaintiff to use the
 3
 4         adjacent space to safely disembark from the car.

 5
 6
           VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
 7
 8         § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
 9         access aisle for the accessible parking space is missing entirely. This makes it
10
           difficult for Plaintiff to use the adjacent space to safely disembark from the
11
12         car.
13
14
           VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
15
16         the designated accessible parking spaces is faded and cannot be seen. There is
17         no compliant surface signage at the designated disabled parking space. The
18
           International Access Symbol is so faded and worn that it cannot be read. The
19
20         street surface (pavement) signage is unreadable because the paint has faded.
21
22
           VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
23
24         surface sign.) The words “NO PARKING” are fading from the adjacent
25
           loading/unloading access aisles. As a result, non-disabled patrons park in the
26
           loading/unloading access aisles, blocking Plaintiff from being able to use the
27
28         access aisles. Cars and trucks park or block the access aisles because the
                                          9
                                      COMPLAINT
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   1        paint is faded and difficult to read.
   2
   3
   4        VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign off-

   5        center.) Although there is a sign showing where the designated accessible
   6
            space parking is, it is not centered as required, but off to the side. The sign
   7
   8        was posted away from the middle of the parking space, rather than centered
   9        at the space as required. This makes it more difficult for people and parking
 10
            enforcement to determine which space is intended for the sole use of disabled
 11
 12         persons.
 13
 14
            VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
 15
 16         loading/unloading access aisle must adjoin an accessible route to an
 17         accessible entrance. It does not
 18
 19
 20         VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Changes in
 21         level of ground surface.) Within the only parking space reserved for disabled
 22
            patrons, the asphalt is uneven, with depressions, dips, divots, and uneven
 23
 24         ground. There are sunken parts. There are cracked parts. This makes
 25
            travelling in this area difficult.
 26
 27
 28         VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
                                            10
                                         COMPLAINT
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   1        parking – uneven surface.) The path of travel from the designated disabled
   2
            parking spaces to the entrance has damaged ground which is uneven. The
   3
   4        damaged ground has pavement distresses. Parts of the ground surface are not

   5        flush. The surface of the ground within the designated path of travel leading
   6
            into the entrance is not flat. This makes traveling in this area difficult. The
   7
   8        path of travel from the designated disabled parking spaces to the entrance
   9        runs into these pavement distresses which have caused changes in level
 10
            greater than one-half inch, but no ramp is provided. These steep changes in
 11
 12         level create uneven surfaces. The types of pavement distresses which exist
 13         include but are not limited to: alligator (fatigue) cracking, joint reflection
 14
            cracking, potholes, asphalt bleeding, patching near utilities, block cracking,
 15
 16         raveling, stripping , corrugation and shoving, and depressions. These
 17         pavement distresses are made worse and exacerbated by designs which do
 18
            not follow the ADAAG. These areas should be fixed immediately because
 19
 20         they are also a tripping and falling hazard.
 21
 22
            VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
 23
 24         4.6.3. (Marked path of travel.) There is no marked path of travel from the
 25
            disabled parking space to the entrance. There is no safe way for Plaintiff to
 26
            park there and then travel to the entrance of the Property.
 27
 28
                                          11
                                       COMPLAINT
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   1        VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)
   2
            The accessible route of travel has a slope greater than 1:20 (5%) but is not a
   3
   4        compliant ramp.

   5
   6
            VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
   7
   8        cross slope of ramp.) The cross slope of the ramp was greater than 2%.
   9
 10
            VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
 11
 12         landings.) Level ramp landings must be provided at the top and bottom of
 13         each ramp. They are not provided.
 14
 15
 16         VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
 17         4.8.4(3). (Minimum landing width and length for top ramp landings.) The
 18
            ramp’s top landing is not sixty inches (60”) wide and long as required.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
 22
            bottom ramp landings.) The ramp’s bottom landing is not seventy-two
 23
 24         inches (72”) in length as required.
 25
 26
            VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
 27
 28         (Minimum landing size for change of direction in ramp.) The change of
                                         12
                                      COMPLAINT
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   1         direction in the ramp does not have a minimum landing size of 60” x 60”.
   2
   3
   4         VIOLATION of 2010 CBC § 1127B.5.7; 1991 ADAS § 4.7.7. (Detectable

   5         warnings - curb ramp.) Detectable warnings extending the full width and
   6
             depth of the ramp are not installed where curb ramps lead to an accessible
   7
   8         route.
   9
 10
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
 11
 12          entrance threshold and weather strip changes in level.) Inside the building,
 13          the front door entrance threshold and weather strip has changes in level
 14
             greater than one-half inch but provides no ramps. This makes traversing this
 15
 16          area difficult.
 17
 18
 19          21.      These inaccessible conditions denied Plaintiff full and equal access

 20    and caused difficulty, humiliation, and/or frustration.
 21
             22.      The barriers existed during each of Plaintiff’s visits in 2019 and 2020.
 22
 23          23.      Plaintiff alleges that Defendants knew that the foregoing architectural

 24    barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
 25
       that the architectural barriers prevented access, and that the noncompliance with the
 26
 27    ADA Accessibility Guidelines and Title 24 of the California Building Code was

 28
                                             13
                                          COMPLAINT
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   1   intentional.
   2
             24.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is
   3
   4   reasonably deterred from returning to Defendants’ public accommodation facilities

   5   because of the knowledge of barriers to equal access, relating to Plaintiff’s
   6
       disabilities, that continue to exist at the Property.
   7
   8         25.      Defendants have failed to maintain in working and useable conditions
   9   those features necessary to provide ready access to persons with disabilities.
 10
             26.      Defendants have the financial resources to remove these barriers
 11
 12    without much expense or difficulty in order to make their Property more accessible
 13    to their mobility impaired customers. The removal of these barriers is readily
 14
       achievable. The United States Department of Justice has determined that removal of
 15
 16    these types of barriers is readily achievable to remove.
 17          27.      Defendants refuse to remove these barriers.
 18
             28.      On information and belief, Plaintiff alleges that Defendants’ failure to
 19
 20    remove these barriers was intentional, because the barriers are logical and obvious.
 21
       During all relevant times, Defendants had authority, control, and dominion over
 22
       these conditions; thus, the absence of accessible facilities was not a mishap, but
 23
 24    rather an intentional act.
 25
             29.      These barriers to access are described herein without prejudice to
 26
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 27
 28    access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
                                              14
                                           COMPLAINT
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   1   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
   2
       have all barriers that relate to his or her disability removed, regardless of whether
   3
   4   he or she personally encountered them).

   5      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
   6
           WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
   7
   8                                  (Against All Defendants)
   9         30.    Plaintiff alleges and incorporates by reference each and every
 10
       allegation contained in all prior paragraphs of this complaint.
 11
 12          31.    Title III of the ADA prohibits discrimination against any person on the
 13    basis of disability in the full and equal enjoyment of the goods, services, facilities,
 14
       privileges, advantages, or accommodations of any place of public accommodation
 15
 16    by any person who owns, leases, or operates a place of public accommodation.
 17    U.S.C. § 12182(a).
 18
             32.    Defendants discriminated against Plaintiff by denying “full and equal
 19
 20    enjoyment” and use of the goods, services, facilities, privileges, or accommodations
 21
       of Defendant’s facility during each visit and each incident of deterred visit.
 22
             33.    The acts and omissions of Defendants herein were/are in violation of
 23
 24    Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
 25
             34.     Pursuant to the ADA, discrimination is a “failure to make reasonable
 26
       modifications in policies, practices or procedures, when such modifications are
 27
 28    necessary to afford goods, services, facilities, privileges, advantages or
                                            15
                                         COMPLAINT
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   1   accommodations to individuals with disabilities, unless the entity can demonstrate
   2
       that making such modifications would fundamentally alter the nature of such goods,
   3
   4   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

   5   12182(b)(2)(A)(ii).
   6
             35.    The ADA requires removal of architectural barriers in existing
   7
   8   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
   9   (“discrimination includes … a failure to remove architectural barriers, and
 10
       communication barriers that are structural in nature, in existing facilities, … where
 11
 12    such removal is readily achievable”). The term “readily achievable” is defined as
 13    “easily accomplishable and able to be carried out without much difficulty or
 14
       expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 15
 16    Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
 17    the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
 18
       36, Appendix A.
 19
 20          36.    If removal of any barrier is not readily achievable, a failure to make
 21
       goods, services, facilities, or accommodations available through alternative
 22
       methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
 23
 24    12182(b)(2)(A)(v).
 25
             37.    Plaintiff alleges that Defendants can easily remove the architectural
 26
       barriers at their facility without much difficulty or expense, and that Defendants
 27
 28    violated the ADA by failing to remove those barriers because removal was readily
                                           16
                                        COMPLAINT
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   1   achievable. There are companies in the area which can repaint parking areas for as
   2
       little as $350. Defendants can afford such costs, which are a fraction of what
   3
   4   Defendants receive in rental profits for such a large and expensive property.

   5         38.     Alternatively, if it was not “readily achievable” for Defendants to
   6
       remove barriers at their facilities, Defendants violated the ADA by failing to make
   7
   8   the required services available through alternative methods, which are readily
   9   achievable.
 10
             39.     On information and belief, the facility was modified after January 26,
 11
 12    1992, mandating compliance access requirements under the ADA.
 13          40.     The ADA requires that facilities altered in a manner that affects or
 14
       could affect their usability must be made readily accessible to individuals with
 15
 16    disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
 17          41.     Plaintiff alleges that Defendants altered the facilities at the Property in
 18
       a manner that violated the ADA, and/or failed to make the Property readily
 19
 20    accessible to physically disabled persons, including Plaintiff, to the maximum
 21
       extent feasible.
 22
             42.     The ADA also requires reasonable modifications in policies, practices,
 23
 24    or procedures, when such modifications are necessary to afford goods, services,
 25
       facilities, privileges, advantages, or accommodations to individuals with
 26
       disabilities, unless the entity can demonstrate that making such modifications
 27
 28    would fundamentally alter the nature of such goods, services, facilities, privileges,
                                             17
                                          COMPLAINT
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   1   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
   2
             43.    Plaintiff alleges that Defendants violated the ADA by failing to make
   3
   4   reasonable modifications in policies, practices, or procedures at the Property when

   5   these modifications were necessary to afford (and would not fundamentally alter the
   6
       nature of) the goods, services, facilities, privileges, advantages, or accommodations.
   7
   8         44.    Plaintiff seeks a finding from this Court that Defendants violated the
   9   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act
 10
       for Disable Persons Act.
 11
 12          45.    Here Defendants’ failure to make sure that accessible facilities were
 13    available and ready to be used by the Plaintiff was/is a violation of law.
 14
             46.    Plaintiff would like to continue to frequent Defendants’ property
 15
 16    because it is close to his home. However, he is deterred from doing so because he
 17    has been discriminated against and is aware of accessibility barriers at the Property.
 18
             47.    Among the remedies sought, Plaintiff seeks an injunction order
 19
 20    requiring compliance with state and federal access laws, and remediation of all the
 21
       existing access violations at the Property.
 22
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
 23
 24                                  (Cal. Civ. Code § 51-53.)
 25
                                     (Against All Defendants)
 26
             48.    Plaintiff repleads and incorporates by reference, as though fully set
 27
 28    forth herein, the allegations contained in all prior paragraphs of this complaint.
                                           18
                                        COMPLAINT
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   1            49.   California Civil Code § 51 states, in part: “All persons within the
   2
       jurisdictions of this state are entitled to the full and equal accommodations,
   3
   4   advantages, facilities, privileges, or services in all business establishments of every

   5   kind whatsoever.”
   6
                50.   California Civil Code § 51 also states, in part: “No business
   7
   8   establishment of any kind whatsoever shall discriminate against any person in this
   9   state because of the disability of the person.”
 10
                51.   California Civil Code § 51(f) specifically incorporates, by reference,
 11
 12    an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
 13    Act”).
 14
                52.   The Unruh Act also provides that a violation of the ADA, or California
 15
 16    state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
 17    51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
 18
       Cal. 1994).
 19
 20             53.   Defendants’ above-mentioned acts and omissions have violated the
 21
       Unruh Act by denying Plaintiff his rights to full and equal use of the
 22
       accommodations, advantages, facilities, privileges, and services they offer, on the
 23
 24    basis of Plaintiff’s disability.
 25
                54.   Defendants’ above-mentioned acts and omissions have also violated
 26
       the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
 27
 28    and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
                                             19
                                          COMPLAINT
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   1         55.    Because violation of the Unruh Act resulted in difficulty, discomfort,
   2
       and/or embarrassment for Plaintiff, the Defendants are each also responsible for
   3
   4   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).

   5         56.    Plaintiff was actually damaged.
   6
       //
   7
   8   //
   9   //
 10
       //
 11
 12    //
 13    //
 14
       //
 15
 16    //
 17    //
 18
       //
 19
 20    //
 21
       //
 22
       //
 23
 24    //
 25
       //
 26
       //
 27
 28    //
                                           20
                                        COMPLAINT
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   1         57.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
   2
       statutory minimum damages of four thousand dollars ($4,000) for each offense.
   3
   4                                  PRAYER FOR RELIEF

   5                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
   6
       follows:
   7
   8         1. For injunctive relief, compelling Defendants to comply with the
   9               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 10
                   Plaintiff is not invoking section 55 of the California Civil Code and is not
 11
 12                seeking injunctive relief under the Disabled Person Acts.
 13          2. Damages under the Unruh Civil Rights Act, which provides for actual
 14
                   damages and a statutory minimum of $4,000 per each offense.
 15
 16          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 17                42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 18
                                          JURY DEMAND
 19
 20    Plaintiffs demand a trial by jury on all issues so triable.
 21
 22
       DATED: November 30, 2020                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
 23
 24
                                          By:   /s/ Peter Shahriari, Esq.____________
 25                                             PETER SHAHRIARI, ESQ.
 26                                             Attorney for Plaintiff, James Shayler

 27
 28
                                             21
                                          COMPLAINT
